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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
    —-—-————---




    UNITED STATES OF AMERICA                       :       Honorable Douglas Arpert

                                                           Mag. No. 12-2547 (DA)

    SCOTT MAZZARA
                                                           ORDER FOR CONTINUANCE


           This matter having been opened to the Court by Paul J. Fishman, United States Attorney

    for the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing),
                                                                                                  granting
    and defendant SCOTT MAZZARA (Michael Baldassare, Esq., appearing), for an order
                                                                                                    having
    a continuance of the proceedings in the above-captioned matter; and eight continuances
                                                                                         have the matter
    previously been granted; and the defendant being aware that lie has the right to
                                                                                                to Title 18
    presented to a Grand Juiy within thirty (30) days of the date of his arrest pursuant
                                                                                   rights and consented
    U.S.C. § 3161; and the defendant through his attorney having waived such

    to the continuance; and for good and sufficient cause shown,
                                                                                       continued for the
            IT IS THE FINDING OF THIS COURT that this action should be

     following reasons:

                    1.    Plea negotiations currently are in progress, and both the United States and the

            defendant desire additional time to enter a plea in Court, which would thereby
                                                                                                render trial

            of this matter unnecessary.

                   2.     Defendant has consented to the aCorementioned continuance,

                   3.     The grant of a continuance will likely conserve judicial resources.

                   4.     Pursuant to Title 18 of the United States Code, Section 3161(h)(7)(A), the
                                                                                                     of the
            ends of justice served by granting the continuance outweigh the best interests

            public and the defendants in a speedy trial,
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           WHEREFORE, on this      _jj        day of                        72013;

           ORDERED that the proceedings in the above-captioned matter are continued from

    October 15, 2013 through December 13, 2013; and it is further

           ORDERED that the period between from October 15, 2013 through December 13, 2013

    shall be excludable in computing time under the Speedy Trial Act of 1974,




                                                                      T
                                        United States               Judge




    Form and entry
    consented to:




   ()Øistant U.S. Attorney




    MICHAEL BALDASSARE, Esq.
    Counsel for Defendant Scott Mazzara
